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    (COB #216 vodircmprules)(04/22)




                                  UNITED STATES BANKRUPTCY COURT
                                             District of Colorado ,
                                                                     Case No. 23−13858−JGR
In re: Sandra Rosemary Oldenburg and Lee Michael
Oldenburg
       Debtor(s)




                                  ORDER DIRECTING COMPLIANCE WITH RULES
    THIS MATTER comes before the Court on the Amended Schedules I and J, (the "Amendment,") filed by
    the Debtor at document no. 80 & 81. A review of the Amendment indicates provisions of the Fed. R.
    Bankr. P. and/or L.B.R. of this Court were not complied with:
    [ ] L.B.R. 1009−1(a): Failure to file a complete document. Amended documents supercede all prior
    filings and may not merely state the new or changed items.

    [ ] L.B.R. 1009−1(b): Failure to file a Notice of Amendment (L.B.F. 1009−1.1) indicating new or
    amended information.

    [ ] L.B.R. 1009−1(c) and (d): Failure to properly serve the Amendment and file a certificate evidencing
    service on the trustee and any affected party. In addition to the requirements of 11 U.S.C. § 342(c)(1) and
    Fed. R. Bankr. P. 1009(a), upon the filing of any amendment adding creditors or parties in interest, L.B.R.
    1009−1(c) requires service of the following documents:

       (1) the amended schedule;
       (2) the Notice of Amendment, L.B.F. 1009−1.1;
       (3) the Notice of Meeting of Creditors; and
       (4) any Notice of Possible Dividend or notice of a bar date for filing proofs of claim, along with a
    proof of claim form.

    [ ] 28 U.S.C. § 1930: Failure to pay the appropriate fee for amendments to Schedules D or E/F, or
    additions to the list of creditors.

    [ ] 11 U.S.C. § 521(a)(1)(A): Failure to amend the list of creditors and include those creditors whose
    debts have now been scheduled by the Debtor. Instructions on amending the list of creditors are available
    at https://www.cob.uscourts.gov/creating−list−creditors.

    [ XX ] Fed. R. Bankr. P. 1008: Failure to file an unsworn declaration on the appropriate Official Form
    (Declaration About an Individual Debtor's Schedules Official Form 106Dec or Declaration Under Penalty
    of Perjury for Non−Individual Debtors Official Form B 202).

    Therefore, IT IS ORDERED the Debtor must comply with this Order and the above−noted Rule(s) within
    14 days of this Order. Failure to comply with this Order may impact the discharge of obligations owed
    to creditors by the Debtor who have not been given proper notice of the bankruptcy filing pursuant to 11
    U.S.C. § 523(a)(3).

    Information on local rules and forms is available at www.cob.uscourts.gov/local−rules.

    Dated: 3/1/24                                         BY THE COURT:
                                                          s/ Joseph G. Rosania Jr.
                                                          United States Bankruptcy Judge
